                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

UL LLC,

              Plaintiff,
                                                   Case No. 1:24-cv-05631
       v.
                                                   Hon. Andrea R. Wood
JOSHUA CALLINGTON,

              Defendant.


               PLAINTIFF’S NOTICE OF APPEARANCE OF COUNSEL

       Please take notice that James M. Witz, Esq., of Littler Mendelson, P.C., 321 North Clark

Street, Suite 1100, Chicago, Illinois 60654, hereby enters his appearance as lead counsel for

Plaintiff UL LLC. Undersigned counsel respectfully requests that he be served with all future

filings, motions, and documents.

       Dated this 24th day of January, 2025.


                                                   Respectfully submitted,

                                                   UL LLC


                                                   By: /s/ James M. Witz
                                                   One of Plaintiff’s Attorneys

                                                   James M. Witz
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                                 CERTIFICATE OF SERVICE

         I hereby certify that I have this 24th day of January, 2025, filed a copy of the foregoing

document, Plaintiff’s Notice of Appearance of Counsel, electronically. Counsel of record for

Defendant may access this filing through the Court’s system.


                                                     /s/ James M. Witz
                                                     An Attorney for Plaintiff
4914-8119-8610.1 / 118575-1072




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